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                             UNITED STATES DISTRICT COURT
                                     DISTRICT OF OREGON

                                     PORTLAND DIVISION


OREGON INTERNATIONAL AIR FREIGHT                Case No. 3:21-cv-01480-SB
CO., an Oregon corporation; OIA GLOBAL
LOGISTICS-SCM, INC., an Oregon                  FIRST AMENDED COMPLAINT
corporation
                                                (Violations of the Economic Espionage Act,
                       Plaintiffs,              as amended by the Defend Trade Secrets
                                                Act, Breach of Employee Confidentiality
         v.                                     Agreement and Obligations, Breach of
                                                Employee Handbook and Obligations,
HEIDI BASSANO; MARIE BOVEY; LLOYD               Breach of Duty of Loyalty, Conversion)
BURKE; OLIVER BURKE; CHRISTOPHE
ESAYIAN; KIMBERLY KOMACKI;
MICHAEL LEHNERT; RAUL LUCENA;                   DEMAND FOR JURY TRIAL
MIKE RIZZO; TODD SWEENEY;
WILLIAM YANKOW; MASTERPIECE
INTERNATIONAL LTD., LLC and DOES 1-
20,

                       Defendants.




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         Plaintiffs Oregon International Air Freight Co. and OIA Global Logistics-SCM, Inc.

(Plaintiffs collectively referred to as “OIA Global”), by and through their attorneys, K&L Gates

LLP, allege the following against Defendants Marie Bovey, Lloyd Burke, Oliver Burke,

Christophe Esayian, Kimberly Komacki, Michael Lehnert, Raul Lucena, Michael Rizzo, Todd

Sweeney (collectively, “Individual Defendants”), Masterpiece International Limited, LLC

(“Masterpiece International”) and Doe Defendants 1–20 (“Doe Defendants”):

                                       INTRODUCTION

       1.       OIA Global brings this action not by choice but out of necessity. Starting in

approximately September 2020, one of OIA Global’s primary competitors, Masterpiece

International, launched a campaign to hire all or substantially all of OIA Global’s employees in

certain offices as well as individuals in other OIA Global offices located throughout the United

States. As a result of this campaign, Masterpiece International hired away more than 30 former

OIA Global employees over an approximately 14-month period.

         2.     OIA Global, however, does not bring this action because of Masterpiece

International’s mere hiring of its employees. OIA Global brings this action because—despite

Masterpiece International’s repeated assurances it sought only employees and not competitive

information—at least 11 former employees took steps to bring OIA Global’s confidential

information with them to their new employer, and Masterpiece International welcomed the
opportunity to acquire OIA Global trade secrets and proprietary information, including while

certain Individual Defendants were still working at OIA Global. Masterpiece International

acquired and misappropriated the information the OIA Global employees provided knowing that

it was valuable and that it was acquired by improper means. While it is not possible to catalogue

the litany of stolen material here, these former employees took information central to OIA

Global’s business: customer lists and contact information; customer and other sales pricing;

copies of template documents; presentations containing OIA Global’s internal financial and

operational information; proprietary policy language; organizational charts; historical financial,
customer, and booking data; customer and booking leads, etc.

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         3.    OIA Global takes the development and protection of its confidential information

very seriously. It has confidentiality agreements with its employees, warns of protection of such

information in its employee handbook, and maintains safeguards with respect to its confidential

data. OIA Global has also undertaken demands and legal action with respect to other employees

who have attempted to steal material, including securing preliminary and final injunctive relief.

This is because, as outlined below, the foundation of OIA Global’s business is confidential

information regarding its business and its clients.

         4.    Despite the former employees’ contractual and other obligations, these Individual

Defendants decided to take information, either independently or with encouragement, to

Masterpiece International. Given that these employees have ignored their obligations, OIA

Global policy, and even letters sent after their departure, OIA Global has no alternative but to

bring a lawsuit to protect its information and to be compensated for its damages. And, despite

Masterpiece International’s assurances, OIA Global has discovered that Masterpiece

International was only too eager for the Individual Defendants to provide them with proprietary

pricing and customer information, among other things. OIA Global is naming Masterpiece

International in this action because Masterpiece sought to use OIA Global’s proprietary and

confidential information and trade secrets in order to unfairly compete with OIA Global.

                                             PARTIES
         5.    Plaintiff Oregon International Air Freight Co. is an Oregon corporation with its

headquarters at 2100 SW River Parkway #800, Portland, OR 97201.

         6.    Plaintiff OIA Global Logistics-SCM, Inc. is an Oregon corporation with its

headquarters at 2100 SW River Parkway #800, Portland, OR 97201.

         7.    Defendant Marie Bovey was Director of Sales, Western Region at OIA Global

who gave notice on March 5, 2021, and whose last day of employment at OIA Global was March

9, 2021. On information and belief, Bovey is a resident of California.




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         8.      Defendant Lloyd Burke was Global Accounts Manager at OIA Global who gave

notice on May 10, 2021, and whose last day of employment at OIA Global was May 11, 2021.

On information and belief, Lloyd Burke is a resident of Illinois.

         9.      Defendant Oliver Burke was Air Export Coordinator at OIA Global who gave

notice on June 16, 2021, and whose last day of employment at OIA Global was July 1, 2021. On

information and belief, Oliver Burke is a resident of Illinois.

         10.     Defendant Christophe Esayian was Sustainability & Global Business Process

Manager at OIA Global who gave notice on December 4, 2020, and whose last day of

employment at OIA Global was December 15, 2020. On information and belief, Esayian is a

resident of Oregon.

         11.     Defendant Kimberly Komacki was Senior Regional Business Development

Manager at OIA Global who gave notice on September 3, 2020, and whose last day of

employment at OIA Global was September 4, 2020. On information and belief, Komacki is a

resident of New York.

         12.     Defendant Michael Lehnert was Chicago Export Coordinator at OIA Global

whose last day of employment at OIA Global was September 2, 2021. On information and

belief, Lehnert is a resident of Illinois.

         13.     Defendant Raul Lucena was an Entry Writer at OIA Global whose last day of
employment at OIA Global was July 31, 2021. On information and belief, Lucena is a resident

of Illinois.

         14.     Defendant Mike Rizzo was Branch Manager at OIA Global whose last day of

employment at OIA Global was April 8, 2021. On information and belief, Rizzo is a resident of

Illinois.

         15.     Defendant Todd Sweeney was Regional Vice President of the Americas - East at

OIA Global who gave notice on June 18, 2021, and whose last day of employment at OIA

Global was June 29, 2021. On information and belief, Sweeney is a resident of Ohio.



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         16.    Masterpiece International is a Delaware limited liability company with its

headquarters and principal place of business at 39 Broadway, Suite 1410, New York, NY 10006.

Masterpiece International is a logistics company that competes directly with OIA Global.

Masterpiece International’s president is among those who acquired OIA Global trade secrets in

the process of hiring OIA Global employees.

         17.    Doe Defendants 1–20, inclusive, on information and belief, were employees at

OIA Global and/or Masterpiece International at all times relevant to this action and were under

the same confidentiality obligations with respect to OIA Global’s information and trade secrets,

yet took such information with them either before or after leaving the employ of OIA Global and

either before or upon commencing employment with Masterpiece International. OIA Global

does not know the identities of Doe Defendants because, on information and belief, such

employees took measures to conceal their theft of confidential information or trade secrets from

OIA Global, including, but not limited to, through use of personal email addresses. Such Doe

Defendants shall be named as discovery in this matter reveals their identities and wrongdoing.

                                  JURISDICTION AND VENUE

         18.    Jurisdiction is proper in this Court under 28 U.S.C. § 1331 because OIA Global

asserts claims arising under law of the United States

         19.    Jurisdiction over OIA Global’s state law claims is proper in this Court under 28
U.S.C. § 1367 because those claims are so related to OIA Global’s federal claims that they form

part of the same case or controversy.

         20.    The Court has jurisdiction over Individual Defendants because they each have

done business in Oregon State and this District and OIA Global’s claims arise out of those

contacts, including Individual Defendants’ actions taken at or regarding OIA Global’s

headquarters in Portland, Oregon. More specifically, Individual Defendants’ connections with the

State of Oregon are as follows:

         a.     OIA Global, which is headquartered in Portland, Oregon, employed Individual
Defendants;

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          b.    OIA Global’s data center and on-premise servers are housed in Beaverton,

Oregon;

          c.    OIA Global’s information technology staff, which handles email and other

technological issues and concerns, is largely located in Portland, Oregon;

          d.    OIA Global employees, including, on information and belief, Individual

Defendants, traveled to Oregon for work purposes such as annual and departmental meetings and

joined calls and video conferences with individuals located in Oregon regarding OIA Global’s

business and strategy;

          e.    Individual Defendants reported either directly or indirectly to OIA individuals

located in Oregon;

          f.    OIA Global issues employee paychecks from its Portland, Oregon headquarters;

and

          g.    Confidentiality and other agreements executed with OIA Global employees are

sent to and housed in OIA Global’s Portland, Oregon headquarters.

          21.   The Court has jurisdiction over Masterpiece International because it is registered

to do business in Oregon, it has an office in Portland, Oregon, it was part of a scheme to steal

information located in Oregon, and it has taken intentional actions aimed at harming OIA Global

in Oregon.
          22.   Venue is proper in this Court under 28 U.S.C. § 1391(b) because a substantial part

of the events or omissions giving rise to OIA Global’s claims occurred in this District.

                                       MATERIAL FACTS

I.        OIA Global Is a Leading Global Logistics Services Provider Due to the Competitive
          Advantage Offered by Its Independently Derived Information
          A.    OIA Global’s Business

          23.   OIA Global is a leading third party logistics operator that provides services

associated with global shipping, packaging, freight forwarding, and material sourcing for supply
chains of all types and sizes from over 50 locations in 25 countries. OIA Global’s client base is


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comprised of major international companies, with substantial international and U.S.-based

transportation needs.

         24.   The global logistics and transportation business is extremely competitive,

comprised of both U.S.-based and international participants. Worldwide volumes are substantial,

but margins can be quite thin, meaning even small advantages—in customer information,

operations, pricing, and market intelligence—can be the difference in securing or retaining

business.

         B.    The Importance of Information to OIA Global

         25.   Because market competition is intense in the logistics and transportation industry,

information is among the most important, if not the most important, part of OIA Global’s

business.

         26.   One key market advantage is information regarding OIA Global’s actual and

prospective customers, including information pertaining to which customers are shipping, what

products those customers are shipping, customer volume, customer pricing and quotes, customer

timing, and other similar customer-specific information. OIA Global has accumulated and

maintained customer information through participation in the marketplace—that is, by servicing

clients, pitching (successfully and unsuccessfully) prospective clients, losing clients and then

winning them back—and maintaining information relating to these activities in an internal
database accessible to some OIA Global employees. This decades-long process has provided

OIA Global with a wealth of valuable business knowledge. Given the enormous time, effort, and

expense spent preparing this information, this information is invaluable to any competitor, as it

would permit them to quickly identify prospective targets without investing the resources

necessary to do so. Moreover, because this information allows OIA Global to more efficiently

and effectively analyze customer needs, it would be invaluable to any competitor.

         27.   This customer-specific information also includes OIA Global’s confidential list of
customers, as well as those customers’ individualized supply chain information, such as factory


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locations and contacts, customer open order reports, customer product lists and pricing

information, consumption reports, and savings reports. OIA Global derived this information

through decades of effort and would be impossible to replicate without the expenditure of

substantial resources. As a consequence, these customer lists (and the customer-specific

information contained in them) are highly valuable to OIA Global and would be invaluable to

any competitor as it would permit that competitor to quickly identify prospective targets without

the requisite investment of time, energy, and cost.

         C.    OIA Global’s Efforts to Protect Business Information

         28.   Because its information and proprietary processes are central to OIA Global’s

business, OIA Global undertakes significant and substantial steps to protect its information and

processes.

         29.   OIA Global maintains its confidential files—including its customer lists, client

files, and other proprietary documents—on secure on-premise and cloud-based servers.

Electronic access to the contents of OIA Global’s file servers is restricted, with the servers

requiring Active Directory level authentication. Additionally, access to OIA Global’s file

servers is logged, allowing OIA Global to verify that its files are being utilized by authorized

users. Physical access to OIA Global’s central file servers is also restricted, as these servers are

located off-site, within the custody of a third-party vendor. OIA Global maintains strict
confidentiality agreements with this vendor, tightly controlling physical access to these servers.

         30.   To secure its valuable information, OIA Global password-protects the laptops

issued to its employees, providing each user with a unique login and password. Each user

account may have different access permissions, depending on the user’s requirements, ensuring

that employees have access only to the types of information that are necessary to perform their

individual job functions.

         31.   Additionally, as part of its efforts to maintain the security of its proprietary

information, OIA Global has a policy to maintain an inventory of its equipment, including the
computers issued to its employees. When an employee is terminated or terminates his or her

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employment, OIA Global’s policy is for the IT department to confiscate the computer, offer its

access to the employee’s manager, archive all relevant files and programs to back folders on OIA

Global’s servers, and either reformat it (thereby removing all information) or remove all

information for reuse or recycle.

         32.   In addition to OIA Global’s electronic and physical safeguards for its information,

it also maintains strict written policies and procedures with respect to the use of OIA Global’s

information. For example, its Employee Handbook details the treatment of and access to

confidential OIA Global information.

II.      The Individual Defendants Agreed When They Were Hired by OIA Global to
         Maintain the Confidentiality of OIA Global’s Information

         A.    Employee Confidentiality Agreements Required Employees to Use OIA
               Global’s Information Only to Support OIA Global
         33.   In light of the proprietary and confidential nature of the information employees

use and access during their employment, OIA Global required many employees to sign an

“Employee Confidentiality Agreement” (“Confidentiality Agreement”).

         34.   This Confidentiality Agreement stated in no uncertain terms that OIA Global’s

proprietary and confidential information “is and shall continue to be the exclusive property of

OIA, whether or not prepared in whole or in part by me and whether or not disclosed or entrusted

to me in connection with my work for OIA.”
         35.   The Confidentiality Agreement further covenanted employees to “agree not

disclose Confidential Information, directly or indirectly, under any circumstances or by any

means, to any third person without the express written consent of OIA” and that the employees

would “not copy, transmit, reproduce, summarize, quote, or make any commercial or other use

whatsoever of Confidential Information, except as may be necessary to perform my duties for

OIA.” (emphasis added).

         36.   Employees signing the Confidentiality Agreement acknowledged that disclosure
of OIA Global’s information could cause irreparable harm to OIA Global and that failure to


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abide by the Confidentiality Agreement would entitle OIA Global to, inter alia, a preliminary

injunction and a judgment for damages caused by any breach. Employees also agreed that “[i]f

any suit or action arising out of or related to this Agreement is brought by any party, the

prevailing party or parties shall be entitled to recover the costs and fees (including without

limitation any reasonable attorney fees . . .) incurred by such party or parties in such suit or

action[.]”

         37.   Employees signing the Confidentiality Agreement further agreed they would

return any confidential information “[u]pon termination of my employment . . . that may be in

my possession or under my control.”

         38.   The duration of the Confidentiality Agreement was to “continue beyond the term

of employment by OIA and for as long as I possess Confidential Information.” In other words,

employees must protect and not misuse OIA Global’s information both while employed and after

their employment ended, regardless of cause.

         39.   Finally, employees presented with the Confidentiality Agreement were notified as

follows:

         CAUTION TO EMPLOYEE: THIS AGREEMENT AFFECTS IMPORTANT RIGHTS.
         DO NOT SIGN IT UNLESS YOU HAVE READ IT CAREFULLY, AND ARE
         SATISFIED THAT YOU UNDERSTAND IT COMPLETELY.

         40.   Employees also received an Employee Handbook upon commencing employment

with OIA Global. Upon receipt of the Employee Handbook, most employees signed an

Acknowledgement & Receipt of Handbook (“Handbook Acknowledgement”). As part of that

Handbook Acknowledgement, employees understood and accepted that they were “responsible

for reading, understanding, and adhering to the policies outlined in the Employee Handbook.”

         41.   The Employee Handbook listed the “[d]isclosure of business information of a

confidential nature to unauthorized persons,” “[t]heft or misuse of Company property, such as

equipment, inventory, supplies or cash,” “[d]ishonesty,” and “[d]efrauding the Company” as
express “examples of conduct that are unacceptable and will lead to disciplinary action[.]”

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         42.   The Employee Handbook’s Information Systems Policy also set forth clear

policies governing employee use of the OIA Global’s computer system, phone system, e-mail

system, and internet access, collectively the “Company Systems.” The Employee Handbook

“User Guidelines” provide that “[a]ll data files or messages created and stored on the Company

Systems, including personal matters, are the property of the Company . . . . All users must be

careful to avoid disclosing confidential or sensitive information of the Company or clients[.]”

Further, “[t]he Company Systems are an asset of the Company. All files and messages on

them are records and property of the Company.” (emphasis added).

         43.   The Employee Handbook also identified “Specifically Prohibited Practices”

noting the following practices were “specifically forbidden: . . . copying and providing

sensitive information of the Company or clients to third parties without a need to know; . . .

using the Company Systems to promote or endorse personal, political or religious causes, or for

commercial gain; [and] bypassing security mechanisms[.]” (emphasis added).

         44.   The Employee Handbook also specifically instructs employees to avoid conflicts

of interest, noting that personal “involvement with a competitor, supplier, or subordinate

employee of the Company, which impairs an employee’s ability to exercise good judgment on

behalf of the Company, creates an actual or potential conflict of interest.” (emphasis added).

Employees were directed to “immediately and fully disclose the relevant circumstances to his/her
immediate supervisor or any other appropriate supervisor, for determination as to whether a

potential or actual conflict exists.” “Working for a competitor” was identified as an example of a

conflict of interest. Employees were also asked to “return all Company property at the time you

leave” employment with OIA Global.

         B.    Employees With Access to OIA Global’s Confidential and Proprietary
               Information Owed OIA Global Duties of Loyalty, Confidentiality, and Good
               Faith and Fair Dealing
         47.   Independent of any contractual duties to their employer, the Individual

Defendants owed a duty of confidentiality, loyalty, and good faith and fair dealing to OIA



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Global. In their roles as agents and/or employees, the Individual Defendants owed OIA Global a

duty and obligation to act in OIA Global’s interest.

          48.   In their roles, the Individual Defendants also owed OIA Global a duty not to

usurp OIA Global’s business opportunities, which would include relationships with clients and

customers, not to use OIA Global confidential and proprietary information in furtherance of a

competitor’s business, and not to use OIA Global’s confidential and proprietary information for

the Individual Defendants’ own gain.

III.      The Individual Defendants’ Theft and Misuse of OIA Global’s Proprietary
          Information and Simultaneous Employment with Masterpiece International

       A. Theft and Misuse of OIA Global Information Using Personal and Masterpiece
          International Email Accounts
          49.   Masterpiece International’s campaign to hire OIA Global employees gained

traction beginning in mid-to-late 2020 and continuing into 2021. OIA Global employees who

departed for Masterpiece International subsequently recruited former OIA Global colleagues to

Masterpiece International. Several OIA Global employees used their OIA Global-issued email

accounts for such communications, including the receipt of job offers from Masterpiece

International, setting meetings regarding “Next steps” with Masterpiece International, engaging

in communications reflecting Masterpiece International raiding of OIA Global’s customer base

as more OIA Global personnel were recruited, and encouraging other OIA Global employees to

move to Masterpiece International.

          50.   In a number of cases, on or around the date of the Individual Defendants’

departure from OIA Global, the Individual Defendants undertook to steal confidential and

proprietary information. The Individual Defendants primary (but certainly not only) means of

procuring information was to email material to their personal email addresses or, in some cases,

to Masterpiece International email addresses that had already been created for them (even though

they still worked for OIA Global). The Individual Defendants in many cases then forwarded the
stolen information from their personal emails on to their Masterpiece International email


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addresses. On information and belief, former OIA Global employees forwarded such

information—on many occasions with Masterpiece International’s knowledge—to benefit

themselves and Masterpiece International. These individuals took such action in explicit

violation of the agreements these Individual Defendants had signed upon employment with OIA

Global. Such information theft provided no conceivable benefit to OIA Global and could only

harm it, by diverting proprietary information, customers, or both, to a direct competitor.

         51.      Indeed, multiple OIA Global customers moved to Masterpiece International

proximate to or after the time Individual Defendants left OIA Global. The Individual Defendants

stole OIA Global’s proprietary and trade secret information related to many of these customers.

         52.      Such theft included, but is not limited to, that which is detailed as follows:

               a. Heidi Bassano1: Former OIA Global employee Bassano signed the OIA Global

                  Confidentiality Agreement on April 5, 2014, and the Employee Handbook

                  Acknowledgement on April 5, 2014, thereby committing to safeguard OIA

                  Global’s information and to use it only in furtherance of her position at OIA

                  Global. Yet Defendant Bassano, whose final day of employment at OIA Global

                  was May 8, 2021, emailed to what is, on information and belief, her personal

                  email account, a detailed spreadsheet regarding shipping data for an OIA Global

                  client on May 6, 2021.
               b. Marie Bovey: Former OIA Global employee Bovey signed the OIA Global

                  Confidentiality Agreement on November 1, 2011, and the Employee Handbook

                  Acknowledgement on November 1, 2011, thereby committing to safeguard OIA

                  Global’s information and to use it only in furtherance of her position at OIA

                  Global. Yet on March 10, 2021, Bovey forwarded to what is, on information and

                  belief, her personal email account, an email and attachments from July 8, 2019,


1
  Although Heidi Bassano has been dismissed from this action, OIA Global has retained the
allegations against her, because they are relevant to the remaining allegations in the complaint
and the scope of the theft.
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                 that included two PowerPoint presentations regarding OIA Global’s energy

                 business and sales presentations and marketing information. The presentations

                 included details about profit margins and customers and provided an overview of

                 OIA Global’s operations. Among multiple OIA Global documents that Bovey

                 circulated at Masterpiece, Bovey sent detailed pricing and shipping information

                 about OIA Global customers to Masterpiece International’s president, Thomas

                 Gilgen. Gilgen analyzed the information Bovey provided and sought to “chat

                 more” with her about it.

              c. Lloyd Burke: Former OIA employee Lloyd Burke, on his penultimate day of

                 employment at OIA Global May 10, 2021, Defendant Lloyd Burke sent from his

                 OIA Global email account to a Masterpiece International account,

                 lburke@masterpieceintl.com, information and documents related to an OIA

                 Global customer account. Such use of OIA Global’s information could only have

                 been for improper commercial use at Masterpiece International. Burke further

                 forwarded OIA Global documents to what is, on information and belief, his

                 personal email account, in the days leading up to his departure from OIA Global.

              d. Oliver Burke: Former OIA employee Oliver Burke signed the Employee

                 Handbook Acknowledgement on January 24, 2011, thereby committing to
                 safeguard OIA Global’s information and to use it only in furtherance of his

                 position at OIA Global. Yet on June 10, 2021, less than a month prior to his

                 departure from OIA Global and mere days before giving notice, Defendant Oliver

                 Burke sent to what is, on information and belief, his personal email account, an

                 attachment that included an amalgamation of several confidential and proprietary

                 provisions from OIA Global documents relating to cargo rates, surcharges, tariffs,

                 and the shipping industry. The document contained excerpts and contract clauses

                 which OIA Global had extensively developed over time to use in executing its
                 business strategy and operating procedures. The purpose of Defendant Oliver

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                 Burke sending such information to his own email address mere days before his

                 departure from OIA Global could only have been to use such information

                 competitively upon joining Masterpiece International to replicate or undercut the

                 contract terms and operating procedures OIA Global uses to differentiate itself in

                 the marketplace.

              e. Christophe Esayian: Former OIA Global employee Esayian signed the OIA

                 Global Confidentiality Agreement on May 19, 2014, thereby committing to

                 safeguard OIA Global’s information and to use it only in furtherance of his

                 position at OIA Global. Yet in the days prior to his last day at OIA Global on

                 December 15, 2020, Defendant Esayian forwarded to what is, on information and

                 belief, his personal email address, a number of OIA Global confidential and

                 proprietary documents, including a proposal for carbon neutral aviation shipping

                 and associated spreadsheet, correspondence with current OIA Global clients, a

                 lighting cost proposal, a client EDI analysis, and notes from an OIA Global

                 steering group meeting regarding technology implementation at OIA Global.

                 Defendant Esayian’s theft of confidential OIA Global documents related to

                 customers and OIA Global’s sustainability measures, taken contemporaneous to

                 his employee departure from OIA Global, could have had no other purpose than
                 to improperly utilize information from those documents in order to support

                 Masterpiece International to the detriment of OIA Global. Once at Masterpiece

                 International, Esayian sent a fellow former OIA Global employee, Charlie

                 Hanson, an internal OIA Global spreadsheet (a September 2020 Monthly

                 Business Review) containing extensive information about a major OIA Global

                 customer, including customer spending, shipment numbers and volume and

                 transportation activity, among other things.

              f. Kimberly Komacki: Former OIA Global employee Komacki signed the OIA
                 Global Confidentiality Agreement on December 10, 2012, and the Employee

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              Handbook Acknowledgement on December 10, 2012, thereby committing to

              safeguard OIA Global’s information and to use it only in furtherance of her

              position at OIA Global. Yet in the weeks and days prior to her last day at OIA

              Global on September 4, 2020, Defendant Komacki forwarded to what is, on

              information an belief, her personal email address, a number of OIA Global

              confidential and proprietary documents, including a Shipment Profile Report for

              clients which contained all data and shipping information for those clients in the

              OIA Global system; a 48-page customer relationship management

              “Comprehensive Guide”; a booking report; a list of customer inquiries,

              opportunities, and communications dating back to February 2018 apparently

              downloaded from OIA Global’s data system; and an “Enterprise Growth Task”

              spreadsheet. Komacki exhibited a pattern of stealing information from OIA

              Global by sending it to her personal email address and then, once she was at

              Masterpiece, forwarding that information to her Masterpiece email address.

              Komacki also sent OIA Global information to Masterpiece before she left OIA

              Global on September 4, 2020. On August 26, 2020, while she was negotiating her

              offer and start date with Masterpiece, she told Gilgen that she could “start pushing

              quotes your way and start working on my leads and transition to MP.” Gilgen
              responded, “quotes coming our way works fine.” And Komacki further

              responded that “if you want to send me a laptop, and starting working CRM with

              CW1 credentials I am happy to do that as well.” Two days later, Komacki

              emailed Gilgen and another individual, Nick Iosue, who on information and belief

              is the Senior Vice President for Global Accounts at Masterpiece International.

              Komacki sent information regarding quotes she was working on for a customer,

              suggesting that they “ping him as a new ‘prospect’ to see if he bites? An intro?

              Not my name of course.” Komacki knew what she was doing was wrong because
              she explicitly told Gilgen and Iosue not to use her name in pursuing the customer.

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                 Komacki sent Gilgen and Iosue information about another OIA Global customer

                 on August 31, again suggesting a pretext for Gilgen and Iosue to reach out to the

                 customer and saying she would answer the query from the customer “as OIA . . .

                 to see what the deal is.” Once Komacki was at Masterpiece International, she

                 continued to send herself and others at Masterpiece or Magnate OIA Global

                 information, including but not limited OIA Global customer sell rates and

                 information about OIA Global’s internal financial practices during COVID, which

                 was still at its height in fall 2020 when she sent that email.

              g. Michael Lehnert: Former OIA Global employee Lehnert, in the days leading up

                 to his last day at OIA Global on September 2, 2021, sent to what is, on

                 information and belief, his personal email account, confidential OIA Global

                 documents. These confidential documents included several bills of lading for an

                 OIA Global customer, Valent Biosciences LLC, and at least one other OIA Global

                 customer. On or about September 7, 2021, just days after Defendant Lehnert

                 departed OIA Global, at least two Valent Biosciences shipments were rebooked

                 with Masterpiece International, instead of OIA Global as had been done

                 previously. Defendant Lehnert’s theft of confidential OIA Global documents

                 relating to a customer, taken contemporaneously to his departure from OIA
                 Global, could have had no other purpose than to improperly utilize information

                 from those documents in order to move business from OIA Global to Masterpiece

                 International, which is precisely what happened.

              h. Raul Lucena: Former OIA Global employee Lucena, the day following his

                 receipt of an offer to join Masterpiece International, sent to what is, on

                 information and belief, his personal email account, a detailed spreadsheet

                 regarding airlines, including rate and contact information. This spreadsheet

                 contained OIA Global’s internal pricing for particular vendors and suppliers,
                 including specific volume and customer profile data, used by OIA Global in

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                 issuing competitive shipping quotes. The purpose of sending such a document to

                 his own email address following his receipt of a job offer from Masterpiece

                 International and mere weeks before his departure from OIA Global could only

                 have been to leverage this extensive information in his new position on behalf of

                 Masterpiece International, as such information would have allowed the user to

                 sidestep months of preparatory work in aggregating market data and allowed the

                 user to usurp the market advantage OIA Global developed by competitively

                 quoting against OIA Global using OIA Global’s own information. Further, while

                 still employed at OIA Global, Defendant Lucena corresponded with a

                 Masterpiece International employee regarding FDA codes to aid Masterpiece

                 International in converting an OIA Global client to Masterpiece International.

              i. Mike Rizzo: Former OIA Global employee Rizzo signed the Employee

                 Handbook Acknowledgement on September 22, 2005, thereby committing to

                 safeguard OIA Global’s information and to use it only in furtherance of his

                 position at OIA Global. Yet in the days leading up to his departure in early April

                 2021, Defendant Rizzo sent to what is, on information and belief, his personal

                 email account, multiple OIA Global documents, including a Job Profit Exception

                 Report regarding “Jobs with Excess Profits” identifying specific OIA Global
                 client accounts with high profit margins, customer lists and invoices, lists of OIA

                 Global personnel including a detailed chart of OIA Global employees and the

                 client accounts for which those employees were responsible, blank templates of

                 OIA Global documents, and spreadsheets showing various fees and other

                 information for customers OIA Global companies. The purpose of Defendant

                 Rizzo sending such documents to his own email address mere days before his

                 departure from OIA Global could only have been to use such information

                 competitively upon joining Masterpiece International to target high-margin OIA
                 Global client accounts for conversion to Masterpiece International clients. Rizzo

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                 sent himself pricing for one of his OIA Global customers from his OIA Global

                 email address to his personal address, and then sent it to his Masterpiece

                 International email and to Burke once he was working at Masterpiece

                 International.

              j. Todd Sweeney: Former OIA Global employee Sweeney signed the OIA Global

                 Confidentiality Agreement on September 29, 2011, and the Employee Handbook

                 Acknowledgement on September 29, 2011, thereby committing to safeguard OIA

                 Global’s information and to use it only in furtherance of his position at OIA

                 Global. Yet in the days leading up to his departure in late June 2021, Defendant

                 Sweeney sent to what is, on information and belief, his personal email account,

                 multiple OIA Global documents, including a detailed organizational chart of OIA

                 Global employees who opened a new office in the prior months, confidential

                 employee agreements, and information on potential job candidates that OIA

                 Global had obtained through relationships with its outside recruiting vendors.

                 The purpose of sending such documents to his own email address mere days

                 before his departure from OIA Global could only have been to use such

                 information competitively upon joining Masterpiece International, including to

                 replicate OIA Global’s organization, which is key to its success in the industry,
                 and to divert qualified candidates from OIA Global to Masterpiece International.

              k. William Yankow2: Former OIA Global employee Yankow signed the OIA

                 Global Confidentiality Agreement on November 13, 2012, thereby committing to

                 safeguard OIA Global’s information and to use it only in furtherance of his

                 position at OIA Global. At the time of his departure from OIA Global, Defendant

                 Yankow had non-compete agreement, and currently has an active non-solicitation

2
  William Yankow is no longer a defendant in this action. The parties stipulated to transfer the
action against Yankow to the Northern District of Ohio and the Court approved the transfer.
ECF No. 90. Regardless, OIA Global has retained the allegations against him, because they are
relevant to the remaining allegations in the complaint and the scope of the theft.
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              agreements in place with OIA Global. Yet in April 2021, Defendant Yankow was

              using his OIA Global email address, and, on information and belief, what is his

              personal email address, to engage in “Next steps” meeting discussions with

              Masterpiece International. By early May 2021, Defendant Yankow was

              negotiating changes to his employment agreement with OIA Global to reduce his

              non-competition time period. During this April–May 2021 time frame, Defendant

              Yankow was forwarding OIA Global emails and information to what is, on

              information and belief, his personal email account. These documents included

              but were not limited to a list of 50 customers that OIA Global was targeting for a

              growth initiative, including details as to the customers’ margins OIA Global’s

              revenue from the customers, how many jobs the customers booked with OIA

              Global over a three-month period, and more. Another document listed detailed

              information about jobs completed, customers served, recognized revenues and

              costs, and other proprietary and confidential information belonging to OIA Global

              for an eight-year period. This time period approximately corresponds to the time

              Defendant Yankow was employed with OIA Global after his family’s business

              International Transport Services (“ITS”) was acquired by OIA Global in 2012.

              OIA acquired ITS in part owing to ITS’s capacity for less than container load
              (“LCL”) capabilities in Asia. Both Defendant Yankow and his brother Matt

              Yankow were employed with OIA Global after the ITS acquisition. However,

              Matt Yankow recently left OIA Global and went to work at Masterpiece

              International. Defendant Yankow also recently left OIA Global, and forwarded to

              his personal email account from his OIA Global account detailed LCL data from

              OIA Global, thereby stealing from OIA Global the strategic LCL information

              which caused OIA Global to acquire Defendant Yankow’s ITS business in the

              first instance. Defendant Yankow departed OIA Global on June 11, 2021, and on
              information and belief, resides in Ohio. Masterpiece International registered to do

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                  business in Ohio just two weeks later on June 25, 2021. On information and

                  belief, Defendant Yankow began working with or for Masterpiece International

                  near the time of his departure from OIA Global, and took OIA’s LCL data and

                  other proprietary information contemporaneous to his departure from OIA Global

                  for no other purpose than to improperly utilize information from those documents

                  in order to move business from OIA Global to a competing business.

               l. Doe Defendants 1–20, whose identities have not yet been discovered, and who

                  had signed Confidentiality Agreements with OIA Global, signed Employee

                  Handbook Acknowledgements with OIA Global, or otherwise had confidentiality

                  obligations, stole proprietary and confidential OIA Global information at or near

                  the time of their departure for use in their new roles at Masterpiece International.

                  Such theft was to the benefit of Masterpiece International and to the detriment of

                  OIA Global and included efforts to siphon customers and otherwise use

                  confidential information to compete with OIA Global.

    B. The Individual Defendants’ Divided Loyalties While Working for Both OIA Global
       and Masterpiece International
         53.      In some cases, on information and belief, OIA Global employees were already

working for Masterpiece International while still employed by OIA Global. In some cases, these

employees had operational Masterpiece International email addresses at the same time they were
working for OIA Global. In other cases, they were sending information to Masterpiece

International while still employed by OIA Global:

               a. Defendant Komacki sent OIA Global information to Masterpiece before she left

                  OIA Global on September 4, 2020. On August 26, 2020, while she was

                  negotiating her offer and start date with Masterpiece, she told Gilgen that she

                  could “start pushing quotes your way and start working on my leads and transition

                  to MP.” Gilgen responded, “quotes coming our way works fine.” And Komacki
                  further responded that “if you want to send me a laptop, and starting working


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                 CRM with CW1 credentials I am happy to do that as well.” Two days later,

                 Komacki emailed Gilgen and another individual, Nick Iosue, who on information

                 and belief is the Senior Vice President for Global Accounts at Masterpiece

                 International. Komacki sent information regarding quotes she was working on for

                 a customer, suggesting that they “ping him as a new ‘prospect’ to see if he bites?

                 An intro? Not my name of course.” Komacki knew what she was doing was

                 wrong because she explicitly told Gilgen and Iosue not to use her name in

                 pursuing the customer. Komacki sent Gilgen and Iosue information about another

                 OIA Global customer on August 31, again suggesting a pretext for Gilgen and

                 Iosue to reach out to the customer and saying she would answer the query from

                 the customer “as OIA . . . to see what the deal is.”

              a. Defendant Lehnert already had a Masterpiece International email address at least

                 as early August 23, 2021, the very same day he resigned from OIA Global. This

                 email address was known to and being used by customers of Masterpiece

                 International before Defendant Lehnert’s employment at OIA Global had ended.

                 On information and belief, Defendant Lehnert was already working for or

                 supporting Masterpiece International, a competitor of OIA Global, before his OIA

                 Global employment concluded. Defendant Lehnert was not the only OIA Global
                 employee who was onboarding at Masterpiece International before departing OIA

                 Global. Philip Dea, another OIA Global employee who left OIA Global on

                 August 20, 2021, for Masterpiece, likewise had a Masterpiece International email

                 address that was receiving communications while he was still on OIA Global’s

                 payroll. Dea and Defendant Lehnert received emails together at their Masterpiece

                 International accounts while still employed at OIA Global.

              b. Defendant Lloyd Burke already had a Masterpiece International email address at

                 least as early as May 10, 2021, the day he gave notice to OIA Global and his
                 penultimate day working for OIA Global. Moreover, Defendant Lloyd Burke sent

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                  at least one email and document to his Masterpiece International email address

                  while he was still working for OIA Global. On information and belief, Defendant

                  Lloyd Burke was already working for or supporting Masterpiece International, a

                  competitor of OIA Global, before his OIA Global employment concluded.

               c. Doe Defendants 1–20, whose identities have not yet been discovered, began work

                  for Masterpiece International prior to departing from OIA Global, thus competing

                  with their soon-to-be former employer while still employed at OIA Global.

                  Working for two entities at once prevented Doe Defendants 1–20 from being

                  loyal to and working in the interests of OIA Global.

IV.      Masterpiece International Acquired OIA Global’s Trade Secrets and Knew or Had
         Reason to Know those Trade Secrets were Acquired by Improper Means
         54.      Masterpiece International is a direct competitor of OIA Global in the logistics

industry. The entities compete for customers, on pricing and quotes, on bids, and on internal

processes and procedures that increase efficiencies and save costs, which in turn helps to

increase margins.

         55.      Masterpiece International has offices in many of the same locations as OIA

Global and they compete on a national and international basis.

         56.      Obtaining information about OIA Global’s processes, customers, pricing, and

more would help Masterpiece International compete with OIA Global on multiple fronts, from
soliciting new customers, to providing competitive pricing that would undercut OIA Global’s

rates, to understanding OIA Global’s internal policies and processes that they used to lower

costs.

         57.      When OIA Global initially investigated the theft of its trade secret, proprietary,

and confidential information, it confronted Masterpiece International and Magnate Worldwide to

demand that former OIA Global employees cease and desist use of OIA Global’s information

and that Masterpiece provide a full accounting of the steps it took to ensure former OIA Global
employees did not use information on Masterpiece International’s behalf, an inventory of

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information that was used on Masterpiece International’s behalf, and the actions Masterpiece

International was going to take to ensure OIA Global’s information would not continue to be

used.

         58.   Masterpiece International vehemently denied that it had any interest in the stolen

information and stated that it had completed a full investigation into OIA Global’s allegations

and took them seriously.

         59.   The truth was very different. Individuals at the highest levels of Masterpiece

International, including its president, Gilgen, had already received, reviewed, and on information

and belief, used OIA Global’s proprietary and trade secret information for Masterpiece

International’s benefit.

         60.   Bovey, a former OIA Global employee, sent Gilgen a spreadsheet containing one

OIA Global customer’s “pricing for your review” and a spreadsheet marked “INTERNAL” of

“the latest ocean pricing I have” for another OIA Global customer. She also sent Gilgen

additional pricing and standard operating procedures for one of those customers, among other

things. Rather than refusing the information from Bovey or admonishing her for her theft, Gilgen

was only too happy to receive the pricing and review it, comparing it to Masterpiece’s margin

per shipping container and stating that he and Bovey could “chat more” about it. The

spreadsheets and other information Bovey sent were clearly OIA Global’s proprietary
information, as most of them carried OIA Global’s logo.

         61.   Thomas Gilgen also accepted information from Komacki while she was still

working at OIA Global. In late August 2020, while Komacki was negotiating her role and start

date with Masterpiece but still working at OIA Global, Komacki emailed Gilgen, asking whether

she could start later “but from now until then start pushing quotes your way and start working on

my leads and transition to MP?” Gilgen responded, approving the start date and saying “quotes

coming our way works fine.” Komacki then proceeded to send Gilgen and others additional

information about prospects for Masterpiece, including concocting ways for Gilgen and Iosue to
make introductions with the customers without implicating Komacki.

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         62.   After Komacki started at Masterpiece International in October 2020, the sharing

of stolen OIA Global information with Masterpiece International’s executives continued. Brian

Summers, Vice President of Technology for Masterpiece International’s parent company,

Magnate Worldwide, thanked Komacki for sharing what he said was “[g]reat information” about

an OIA Global customer, including spending, shipment numbers, utilization percentages, and a

shipment profile showing hundreds of shipments, including billed amounts. The spreadsheet was

clearly OIA Global’s proprietary information, as it carried OIA Global’s logo. Komacki sent the

information as a follow up to a call she had with Summers, stating she was attaching the report

“she referenced on our call” and giving details information about how OIA Global had worked

with the client. Summers did not dissuade Komacki from sending the information but instead

welcomed it, including holding a call with Komacki about the OIA Global customer.

         63.   In October 2020, Komacki also sent Gilgen, Iosue, Abed Medawar, who is

Masterpiece International’s Vice President for Trade Development, and Vlad Fruman,

Masterpiece International’s Director of Product Management, rates for an OIA Global customer,

asking “could we compete?” The spreadsheet was clearly OIA Global’s proprietary information,

as it carried OIA Global’s logo. Komacki had received the spreadsheet of rates for the customer

from Heidi Bassano, who was still working the account at OIA Global.

         64.   Gilgen first responded: “First glance? No problem. Let’s see if Abed and Vlad
agree.” Fruman responded “I agree with Thomas they look like matchable rates, as long as we

don’t have to lock them in long term we should match it.” And Medawar responded “Agreed, let

me review more closely tomorrow morning.”

         65.   Komacki then responded that she had emailed Bassano to tell “her we can match

the sell and will wait for more info from here [sic] to dig deeper.” Gilgen, Medawar, and

Fruman had already welcomed trade secret information from Komacki about an OIA Global

client and reviewed it to determine if Masterpiece International could compete, and then

Komacki told them she would continue to seek confidential information from Bassano at OIA



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Global in an effort to take the account away using stolen confidential, proprietary, and trade

secret information.

         66.   Later, in April 2021, while Bassano was still at OIA Global, she emailed Komacki

at Komacki’s Gmail account, complaining about how her accounts at OIA Global were being

handled. She sent Komacki OIA Global propriety information about one customer in particular

and asked Komacki to “get Charlie to work on this.” On information and belief, “Charlie” is

Charlie Hanson, a former OIA Global employee who had started working for Masterpiece

International and Bassano was asking Komacki to have Hanson look at the proprietary

information she had sent in order to help Masterpiece International compete for the customer.

Bassano also stated that she was “going to call Thomas and let him know.” On information and

belief, “Thomas” is Gilgen. On information and belief, Bassano intended to call Gilgen about

OIA Global accounts and offer assistance to Masterpiece International in taking those accounts

away from OIA Global using OIA Global’s own trade secret information.

         67.   On information and belief, the documents produced in discovery to date do not

reveal the extent to which Masterpiece International welcomed and used stolen OIA Global trade

secrets, including through a network of both former and current OIA Global employees.

         68.   Masterpiece International’s acquisition and use of OIA Global trade secrets and

confidential information has caused significant damage to OIA Global.

                                         COUNT I
             (Violation of the Economic Espionage Act, as Amended by the
 Defend Trade Secrets Act, as to all Individual Defendants, Masterpiece International and
                                   Doe Defendants 1–20)
         69.   OIA Global realleges and incorporates by reference the foregoing paragraphs of

the Complaint as though fully set forth herein.

         70.   During and following their employment with OIA Global, Individual Defendants

Bovey, Lloyd Burke, Oliver Burke, Esayian, Komacki, Lehnert, Lucena, Rizzo, Sweeney, and

Doe Defendants 1–20 misappropriated OIA Global’s trade secrets related to products and
services used in and intended for use in interstate commerce.


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         71.   The Individual Defendants and Doe Defendants misappropriated those trade

secrets and have received, possessed, and benefitted from them, knowing such trade secrets were

obtained without authorization. The information that the Individual Defendants and Doe

Defendants misappropriated constitutes trade secrets protected by the Economic Espionage Act,

as Amended by the Defend Trade Secrets Act, 18 U.S.C. § 1831 et seq.

         72.   Masterpiece International misappropriated OIA Global’s trade secrets related to

products and services used in and intended for use in interstate and foreign commerce.

         73.   Masterpiece International acquired OIA Global’s trade secrets and knew or had

reason to know that the trade secrets were acquired by improper means.

         74.   Masterpiece International misappropriated those trade secrets and received,

possessed, and benefitted from them, knowing such trade secrets were obtained without

authorization. The information that Masterpiece International misappropriated constitutes trade

secrets protected by the Economic Espionage Act, as Amended by the Defend Trade Secrets Act,

18 U.S.C. § 1831 et seq.

         75.   OIA Global took reasonable efforts to maintain the secrecy of its information,

including training, confidentiality agreements, limiting access, and password protection.

         76.   Masterpiece International’s, the Individual Defendants’, and the Doe Defendants’

misappropriation of OIA Global’s trade secrets was willful and malicious. OIA Global is thus
entitled to its reasonable attorneys’ fees, and to exemplary damages in an amount up to twice

actual damages awarded, pursuant to 18 U.S.C. § 1836.

         77.   As a direct consequence of Masterpiece International’s, the Individual

Defendants’, and the Doe Defendants’ misappropriation, Masterpiece International, the

Individual Defendants, and the Doe Defendants have been unjustly enriched, and OIA Global is

entitled to damages for such enrichment, in an amount to be proven at trial.




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                                        COUNT II
                    (Breach of Employee Confidentiality Agreement as to
                       Defendants Bovey, Esayian, Komacki, Sweeney,
                                 and Doe Defendants 1–20)
         78.   OIA Global realleges and incorporates by reference the foregoing paragraphs of

the Complaint as though fully set forth herein.

         79.   Individual Defendants Bovey, Esayian, Komacki, Sweeney, and Doe Defendants

1–20 executed Confidentiality Agreements with OIA Global that imposed certain obligations,

including the safeguarding of OIA Global information and the covenant not to misuse OIA

Global information for commercial or competitive purposes not in furtherance of OIA Global’s

business, both during the Individual Defendants’ and Doe Defendants’ employment with OIA

Global and thereafter.

         80.   These Confidentiality Agreements notified Individual Defendants Bovey,

Esayian, Komacki, Sweeney, and the Doe Defendants that they were agreeing to certain

covenants and would face consequences for the breach of such covenants.

         81.   Individual Defendants Bovey, Esayian, Komacki, Sweeney, and the Doe

Defendants materially breached their duties under these Confidentiality Agreements by stealing

OIA Global’s confidential and proprietary information, including OIA Global’s customer

information and pricing, customer quotes, OIA Global documents, and OIA Global

organizational charts, and sending it either to Individual Defendants Bovey’s, Esayian’s,
Komacki’s, Sweeney’s, and the Doe Defendants’ personal email addresses or to Masterpiece

International email addresses for use by and for the benefit of Masterpiece International, a

competitor of OIA Global.


                                        COUNT III
                   (Breach of Employee Handbook Acknowledgement as to
                      Defendants Bovey, Oliver Burke, Komacki, Rizzo,
                             Sweeney, and Doe Defendants 1–20)
         82.   Individual Defendants Bovey, Oliver Burke, Komacki, Rizzo, Sweeney, and Doe
Defendants 1–20 each signed Handbook Acknowledgements upon being hired by OIA Global.


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          83.      Individual Defendants Bovey, Oliver Burke, Komacki, Rizzo, Sweeney, and Doe

Defendants 1-20 each received adequate consideration to support the Handbook

Acknowledgement, as it was a condition of their employment.

          84.      Individual Defendants Bovey, Oliver Burke, Komacki, Rizzo, Sweeney, and the

Doe Defendants materially breached this agreement by obtaining and using OIA Global’s

proprietary and confidential information, including OIA Global’s customer information and

pricing, customer quotes, OIA Global documents, and OIA Global organizational charts, in

furtherance of Masterpiece International’s business and to the detriment of OIA Global’s

business.


                                          COUNT IV
                (Breach of Duties of Loyalty, Confidentiality, and Good Faith
          and Fair Dealing as to All Individual Defendants and Doe Defendants 1–20)
          85.      OIA Global realleges and incorporates by reference the foregoing paragraphs of

the Complaint as though fully set forth herein.

          86.      During their employment with OIA Global, the Individual Defendants and Doe

Defendants 1–20 owed a duty of loyalty, confidentiality, and good faith and fair dealing to OIA

Global.

          87.      During their employment with OIA Global, the Individual Defendants and the

Doe Defendants breached these duties at least by stealing OIA Global’s trade secrets and other
confidential and proprietary information, including customer information and pricing, customer

quotes, OIA Global documents, and OIA Global organizational charts, in order to further their

own interests and those of OIA Global’s competitors, specifically Masterpiece International, and

in direct conflict with OIA Global’s interests.

                                              COUNT V
                (Conversion as to all Individual Defendants, Masterpiece International,
                                       and Doe Defendants 1–20)
          88.      OIA Global realleges and incorporates by reference the foregoing paragraphs of
the Complaint as though fully set forth herein.


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         89.    The Individual Defendants, Masterpiece International, and Doe Defendants 1–20

intentionally exercised dominion or control over or dispossessed, used, deleted, or intermeddled

with OIA Global’s chattel, including but not limited to, OIA Global’s customer information and

pricing, customer quotes, OIA Global documents, OIA Global organizational charts, and other

confidential and proprietary client information for the benefit of the Individual Defendants,

Masterpiece International, and the Doe Defendants. Individual Defendants, Masterpiece

International, and the Doe Defendants may also have converted and dispossessed, used, deleted

or intermeddled with other items that will be discovered after commencement of litigation

through the discovery process.



         WHEREFORE, OIA Global prays for a judgment and decree in its favor and against all

Defendants as follows:

         a)     Permanent orders, and possible preliminary relief, requiring Defendants to deliver

                to OIA Global all documents, data, and other property of OIA Global, as well as

                all hard drives, flash drives, SD cards, cell phones, and other external drives or

                storage media used by any defendant that contain any of OIA Global’s

                documents, data or other property (collectively “Misappropriated ESI”).

                Defendants shall not take any action to delete, destroy, or move any documents,
                data, or other property of OIA Global in Misappropriated ESI, and shall not direct

                or permit anyone to do so on their behalf;

         b)     Permanent orders, and possible preliminary relief, restraining and enjoining

                Defendants from soliciting OIA Global’s clients, potential clients, vendors,

                employees, and suppliers, to the extent such solicitation is enabled by or based on

                misappropriation of OIA Global’s trade secrets and other confidential

                information;




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         c)   Permanent orders, and possible preliminary relief, restraining and enjoining

              Defendants from otherwise possessing, using or disclosing OIA Global’s trade

              secrets and other confidential information misappropriated by Defendants;

         d)   An accounting from Defendants;

         e)   Judgment against Defendants for damages in an amount to be proven at trial;

         f)   Judgment against Defendants for double damages for their willful and malicious

              misappropriation of OIA Global’s trade secrets pursuant to 18 U.S.C. § 1836;

         g)   Judgment against Defendants in the amount of OIA Global’s reasonable

              attorneys’ fees and costs as authorized by 18 U.S.C. § 1836 and/or pursuant to the

              terms of the Confidentiality Agreements; and

         h)   Such other and further relief as this Court deem just and equitable.


DATED this 12th day of September 2022.

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                                CERTIFICATE OF SERVICE

      I hereby certify that on September 12, 2022, I served the foregoing via U.S. Mail on
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